                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
               STEVE STRELECKI,
                                              Civil Action No.
                             Plaintiff,       3:19-cv-01939-RDM
                   vs.

               P&B CAPITAL GROUP, LLC,
                                 Defendant.



                                       CERTIFICATE OF SERVICE

                    The undersigned hereby certifies that a true and correct copy of the

               foregoing Answer to the Complaint has been served upon counsel of record

               via ECF on this 12th day of November, 2019.



                                                         /s/ Andrew M. Schwartz
                                                         Andrew M. Schwartz




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